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9ev.   02/2006
                                COURTROOM MINUTES       OF    CRIMINAL           PROCEEDINGS
                                           Norfolk/Newport News Division

SENTENCING MINUTES

Set:             1:00 p.m.                                             Date:        November 15,                2023
Started:            1:00 p.m.                                          Judge:            Mark     S.       Davis
Ended:              4:30 p.m.                                          Court Reporter:             Paul McManus,        OCR
                                                                       U.S. Attorney:             P. Osyf/L. McKee 1
                                                                       Defense Counsel:            J. Ellenson/E. Rossi
                                                                       Courtroom Deputy:                   V. Ward
                                                                       Probation Officer:                   Jeff Noll
                                                                       Interpreter:

Case      No:        4:23cr45
Defendant:              Deia Nicole Taylor                         )    in custody       ( X )     on bond

   X       Came on for disposition.                                       X      Deft,       sworn.

           Govt/Deft's                 motion for downward departure,
                                      motion     for one-level          reduction       in offense           level.
                                       Granted.                Denied.
   X       The Court adopts the factual statements contained in the Presentence Report

   X       Presentence Report reviewed.                                Objections heard and rulings made.
   X       Evidence presented.              (Witnesses and exhibits listed on last page)
   X       Arguments of counsel heard.                    X             Statement       of   deft,         heard.

   X        The Court ACCEPTED the plea agreement and made a finding of GUILT as to
Count(s)          1,2   .
   X      Court made a finding that deft, violated terms of her pre-trial
supervision.


IMPRISONMENT:
SENTENCE: Count (s)    1,2    : The deft, shall be committed to the custody of the BOP
to be imprisoned for a total term of     21    months. The term consists of      21
months       on    count        1      ,   and     21     months          on    count         2        ,    all to be served
concurrently,               This sentence shall run consecutive to any sentence received in state
court.


   X        The deft,         is remanded to the custody of the U.S. Marshal.

            The deft,         shall   surrender for service of             the    sentence at the              institution
designated by the BOP/U.S. Marshal before                                  on                , as notified by the U.S.
Marshal.


      If deft, is unable to arrange transportation to the designated institution, the
United States Marshal will arrange transportation for the defendant.

     If the defendant is not notified by the United States Marshal of the institution
designated, the defendant shall report to the United States Marshal at 600 Granby
Street, Norfolk,             VA, by               on           ,        to begin service of the sentence.
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PROBATION:


            The deft,     shall be placed on probation for a term of         years.




SUPERVISED                RELEASE:

   X   upon release from imprisonment, the deft, shall be on supervised release for
a term of    2    year(s) .  This term consists of 2   years on count    1   , a term
of   2    years on count    2   , and a term of    years on count      , all to run
concurrently.


Standard Conditions of Supervised/Probation:
The defendant shall report in person to the probation office in the district to which
the defendant is released within 72 hours of release from the custody of the Bureau
of       Prisons.


While on supervised release, the defendant shall not commit another federal, state,
or       local   crime.


While on supervised release,           the defendant shall not illegally possess a controlled
substance.


While on supervised release, the defendant shall not possess a firearm,               destructive
device, or any other dangerous weapon.

     XThe deft, shall refrain from any unlawful use of a controlled substance and submit
to one drug test within 15 days of release on supervised release and at least two
periodic drug tests, thereafter, as directed by the probation officer.

      As reflected in the presentence report, the deft, presents a low risk of future
substance abuse and therefore, the court hereby suspends the mandatory condition for
substance abuse testing as defined by 18 USC 3563 (a)(5).    However, this does not
preclude the U.S. Probation Office from administering drug tests as they deem
appropriate.

       It shall be a condition of supervised release that the deft, pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release
in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.


Special Conditions of Supervised Release/Probation:
  X   If the deft, tests positive for controlled substance or shows signs of alcohol
abuse, the deft shall participate in a program approved by the United States Probation
Office for substance abuse, which program may include residential treatment and testing
to determine whether the deft. Has reverted to the use        of drugs or alcohol, with partial
costs to be paid by the deft.,           all as directed by the probation officer.

  X   The deft, shall waive all rights of confidentiality regarding substance
abuse/mental health treatment in order to allow the release of information to the United
States Probation Office and authorize communication between the probation officer and
the treatment provider.

     X       The deft, shall participate in a program approved by the United States Probation
Office       for mental     health treatment.   The cost of this program is to be paid by the
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deft, as directed by the probation officer.

     The deft, shall pay support for his minor child(ren) in the amount ordered by
any social service agency or court of competent jurisdiction, and shall register with
the Department of Child Support Enforcement in any state in which he resides.

      As directed by the probation officer, the deft, shall apply monies received from
income tax refunds, lottery winnings, inheritances, judgments, and any anticipated
or unexpected financial gains to the outstanding court-ordered financial obligation,
or in a lesser amount to be determined by the court, upon the recommendation of the
probation officer.

     The deft, shall not incur new credit charges or open additional lines of credit
without the approval of the probation officer.

      The deft, shall provide the probation officer access to any requested financial
information.


      The deft, shall participate in a program approved by the U.S. Probation Officer
for financial counseling.   The cost of this program is to be paid by the defendant
as directed by the probation officer.

     The defendant shall participate in the Treasury Offset Program (TOP) as directed
by the probation officer.

  X       The   defendant   shall    obtain   a   GED    or vocational   skill   during period of
supervision if not employed full-time.

      The deft, shall be on Home Detention, which shall include electronic monitoring
at the deft's expense, for a period of          consecutive months/days.   During this
time, he/she shall remain at his\her place of residence except for employment and other
activities approved in advance by the probation officer.

     Deft shall maintain a telephone at his place of residence without party lines,
telephone answering machines, a modem, "call       forwarding," "caller ID," "call
waiting(5), portable cordless telephones or any other devices or services that may
interfere with the proper functioning of the electronic monitoring equipment for the
above period.    Deft shall wear an electronic monitoring device, follow electronic
monitoring procedures, and pay the cost of electronic monitoring, all as directed by
the probation officer.

       The defendant shall participate in a program approved by the United States
Probation Office for mental health treatment, to include a psychological evaluation,
and sex offender treatment,          The costs of these programs are to be paid by the defendant
as directed by the probation officer,                   The defendant shall waive all rights of
confidentiality regarding sex offender/mental health treatment in order to allow the
release    of   information to      the United States        Probation Office     and authorize
communication between the probation officer and the treatment provider.

      Pursuant to the Adam Walsh Child Protectionand Safety Act of 2006, the defendant
shall register with the state sex offender registration agency in any state where the
defendant resides, works, and attends school, according to federal and state law and
as directed by the probation officer.

      The defendant shall submit to polygraph testing as directed by the United States
Probation Officer as part of his sex offender therapeutic program,    The costs of the

testing are to be paid by the defendant as directed by the probation officer.


     Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, the defendant
shall submit to a search of his person, property, house, residence, vehicle, papers,
computer, other electronic communication or data storage devices or media, and effects
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                                           FINANCIAL       PENALTIES

  X      Court finds deft. is unable to pay fine, cost of prosecution, cost of imprisonment
or supervised release.


SPECIAL        ASSESSMENT:
                 X      As    to count      1    , the deft, shall pay a special assessment in the
               amount    of        $100

                 X      As    to count      2    , the deft, shall pay a special assessment in the
amount    of   $100

                        As    to   count        , the deft, shall pay a special assessment in the
amount    of


                        As    to   count        , the deft, shall pay a special assessment in the
amount    of


The total special assessment due is                 $200    and shall be due in full   immediately.

         Denial of Justice for All Act Request

FINE:
         The deft,      shall pay a fine in the amount of $




RESTITUTION:

      The deft,       shall make restitution in the amount of $

      Restitution Judgment Order,               entered and filed in open court.




SCHEDULE        OF     PAYMENTS:

         Interest will not accrue if the special assessraent/fine/resti tution is paid in
accordance with the schedule,     or any modified schedule, set by this court.
  X   The special assessment is due and payable immediately.   Any balance remaining
unpaid on the special assessment at the inception of supervision, shall be paid by
the deft, in installments of not less than $ 50.00    per month, until paid in full,
Said payments shall commence   60  days after deft's supervision begins.

      At the time supervision commences, the probation officer shall take into
consideration the defendant's economic status as it pertains to his ability to pay
the special assessment/fine/restitution ordered and shall notify the court of any
change that may need to be made to the payment schedule.

         Each restitution payment shall be divided proportionately among the payees
named.


      Restitution shall be made jointly and severally with
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  X
         Nothing in the Court's order shall prohibit the collection of any judgment by
the United States.

  X
      Any special assessment, restitution, or fine payments may be subject to penalties
for default and delinquency.

  X
      Since this judgment imposes a period of imprisonment, payment of Criminal
Monetary penalties shall be due during the period of imprisonment.  All criminal
monetary penalty payments are to be made to the Clerk, United States District Court,
except those payments made through the Bureau of Prisons' Inmate Financial
Responsibility Program.
  X
       The deft, shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.



         The deft, notified of right of appeal.
  X      Court noted that deft, waived right of appeal in plea agreement.

      On motion of gov't,             remaining counts dismissed.

         The deft,      is continued on present bond and cautioned re bail jumping.




  X      Court   recommends      incarceration at

          X      a facility as close to the Virginia area as possible.

          X      the deft, shall participate in intensive mental health and substance abuse
       treatment.




  X       Consent Order of Forfeiture,           executed and filed 6/15/23.




Additional Counts/Comments:
 Gov't    Witness:       1.   TFO Ryan Norris/Deft.          Witness:   Calvin Taylor

 Gov^t Exhibits;         1.   Copy of 4473    Form;    2.    Revised copy of 4473   Form;   3.   Photo   of


Barrel lock;       4.   Photo of       trigger lock;    5.    Photo of barrel   lock in bag;     6.   Photo

 Of barrel lock in bag;          7.    U-Haul Equipment Contract;       8. Contract Search;       9. U-Haul

 Contract; 10. Impound Invoice; 11. Official U.S. Time; 12. Cellebrite extraction rpt.
